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   9                         UNITED STATES DISTRICT COURT

  10                        CENTRAL DISTRICT OF CALIFORNIA

  11
        AMBER J. C.,                           No. 2:20-cv-04851-ODW-PLA
  12
                        Plaintiff,
  13                                           ORDER FOR THE AWARD OF
        v.                                     ATTORNEY FEES PURSUANT TO
  14                                           THE EQUAL ACCESS TO JUSTICE
        COMMISSIONER OF SOCIAL
  15    SECURITY,                              ACT, 28 U.S.C. § 2412(d)

  16                    Defendant.
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             The Court having approved the stipulation of the parties, IT IS ORDERED
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  20   that Plaintiff be awarded attorney fees under the Equal Access to Justice Act, 28
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   1   U.S.C. § 2412(d), in the amount of SEVEN THOUSAND DOLLARS AND NO
   2
       CENTS ($7,000.00).
   3

   4   IT IS SO RECOMMENDED:

   5   DATE: September 22, 2021           ___________________________________
   6                                      HONORABLE PAUL L. ABRAMS
                                          UNITED STATES MAGISTRATE JUDGE
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  10
       DATE: September 22, 2021           ___________________________________
                                          _____
                                              ________
                                                     _________
                                                             _________________
  11                                      HONORABLE OTIS    D.. WRIGHT, II
                                                       OTIS D
  12                                      UNITED STATES D DISTRICT
                                                           ISTRICT JUDGE
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